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 1   JOSEPH N. AKROTIRIANAKIS (Bar No. 197971)
      jakro@kslaw.com
 2   AARON S. CRAIG (Bar No. 204741)
      acraig@kslaw.com
 3   KING & SPALDING LLP
     633 West Fifth Street, Suite 1700
 4   Los Angeles, CA 90071
     Telephone:    (213) 443-4355
 5   Facsimile:    (213) 443-4310

 6   Attorneys for Defendants
     NSO GROUP TECHS. LTD. and Q CYBER TECHS. LTD.
 7

 8                              UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                    OAKLAND DIVISION
11

12   WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
13   corporation,                                 STATEMENT PURSUANT TO LOCAL
                                                  RULE 79-5(F)(3) OF DEFENDANTS NSO
14               Plaintiffs,                      GROUP TECHNOLOGIES LIMITED
                                                  AND Q CYBER TECHNOLOGIES
15         v.                                     LIMITED IN RESPONSE TO
                                                  PLAINTIFFS’ ADMINISTRATIVE
16   NSO GROUP TECHNOLOGIES LIMITED               MOTION TO CONSIDER WHETHER
     and Q CYBER TECHNOLOGIES LIMITED,            ANOTHER PARTY’S MATERIAL
17                                                SHOULD BE FILED UNDER SEAL [RE
                     Defendants.                  DOCKET NO. 568]
18

19                                                Judge: Hon. Phyllis J. Hamilton
20                                                Action Filed: 10/29/2019
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     DEFENDANTS’ LOCAL RULE 79-5(F)(3)                                 Case No. 4:19-cv-07123-PJH
     STATEMENT [DKT. 557]
     Case 4:19-cv-07123-PJH          Document 576        Filed 03/10/25     Page 2 of 4



 1          Pursuant to Civil Local Rule 79-5(f)(3), Defendants NSO Group Technologies Limited and

 2   Q Cyber Technologies Limited (collectively, the “Defendants”) submit this statement in response

 3   to Plaintiffs’ Administrative Motion to Consider Whether Another Party’s Material Should Be Filed

 4   Under Seal (“Administrative Motion”) (Dkt. 568). Plaintiffs identified portions of their Opposition

 5   to Defendants’ Administrative Motion to Continue Briefing Deadlines and Hearing Date on

 6   Plaintiffs’ Motion for Permanent Injunction (the “Opposition”) as confidential pursuant to the

 7   Stipulated Protective Order (Dkt. No. 132). Defendants provide their positions regarding sealing

 8   of these materials below.

 9   I.     LEGAL STANDARD

10          Although courts recognize a general right to inspect and copy public records, “access to

11   judicial records is not absolute.” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178 (9th

12   Cir. 2006). The showing necessary to seal materials depends on how closely related those materials

13   are to the merits of the case. “A party seeking leave to file documents under seal in conjunction

14   with a non-dispositive motion” need only show “good cause exists to file the information under

15   seal.” Uniloc United States of Am., Inc. v. Apple Inc., No. 18-cv-00362-PJH, 2018 WL 2392561,

16   at *3 (N.D. Cal. May 25, 2018) (Hamilton, J.). Under the “good cause” standard, the relevant

17   inquiry is “whether good cause exists to protect the information from being disclosed to the public

18   by balancing the needs for discovery against the need for confidentiality.” Wells Fargo & Co. v.

19   ABD Ins. & Fin. Servs., No. C 12-3856 PJH, 2013 WL 897914, at *1 (N.D. Cal. Mar. 8, 2013)

20   (Hamilton, J.).   Here, the Materials are not filed in connection with a dispositive motion.

21   Accordingly, the “good cause” standard applies to this Motion. “Good cause” requires only “a

22   particularized showing” that sealing is appropriate, which “will suffice to seal documents.”

23   Kamakana, 447 F.3d at 1180.

24   II.    DEFENDANTS’ LOCAL RULE 79-5(F)(3) STATEMENT

25          As shown below, good cause exists warranting sealing the highlighted portions of page 3

26   of Plaintiff’s Opposition (Dkt. 568). Defendants do not seek sealing of the highlighted portion of

27   footnote 2 on page 2.

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                                                     1
     DEFENDANTS’ LOCAL RULE 79-5(F)(3)                                        Case No. 4:19-cv-07123-PJH
     STATEMENT [DKT. 557]
     Case 4:19-cv-07123-PJH             Document 576         Filed 03/10/25     Page 3 of 4



 1             The highlighted portions of page 3 of the Opposition refer to information that is subject to

 2   legal restrictions and confidentiality obligations discussed in detail at ¶¶ 2, 4-12, & 13(a)-(e) of

 3   Dkt. No. 419-1. The highlighted portions of page 3 of Plaintiffs’ Opposition contain descriptions

 4   of the deposition testimony of Defendants’ executives and highly confidential documents

 5   concerning technology that is expert controlled under Israeli law. Defendants were only permitted

 6   to provide this testimony and these documents pursuant to a license from Israel’s Defense Export

 7   Control Agency, which license requires Defendants to use their best efforts to maintain the

 8   confidentiality of these documents pursuant to the Court’s stipulated protective order entered in

 9   this litigation (Dkt. No. 132). One of the highlighted provisions contains confidential information

10   about that export license, and Defendants are obligated under Israeli law to ask this Court to keep

11   that information under seal.

12             Plaintiffs’ Opposition sets forth highly confidential and export-controlled information about

13   the research and development of Defendants’ technologies, which warrants sealing to prevent

14   substantial harm to Defendants’ business and to Defendants’ government customers and business

15   partners. See, e.g., Finjan, Inc. v. Proofpoint, Inc., 2016 WL 7429304, at *2 (N.D. Cal. Feb. 9,

16   2016) (recognizing “compelling reasons to seal . . . information about the technical operation of the

17   products, financial revenue data, and excerpts from expert depositions [and] expert report[s]”);

18   Transperfect Global, Inc. v. MotionPoint Corp., 2013 WL 706975, at *1 (N.D. Cal. Feb. 26, 2013)

19   (“proprietary information concerning [a party’s] technology and internal business operations” and

20   “descriptions of [a party’s] proprietary technology” warrant sealing); Hyundai Motor Am., Inc. v.

21   Midwest Indus. Supply Co., 2019 WL 11638962, at *1 (D. Nev. June 20, 2019) (finding

22   “[c]ompelling reasons justifying sealing court records generally exist” when such files contain

23   “business information that might harm a litigant’s competitive standing”).

24             Accordingly, Defendants respectfully request that the Court grant Plaintiffs’ Administrative

25   Motion and seal the highlighted portions of page 3 of Plaintiffs’ Opposition (Dkt. 568).

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           DEFENDANTS’ LOCAL RULE 79-5(F)(3)                                    Case No. 4:19-cv-07123-PJH
           STATEMENT [DKT. 557]
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 1
     Dated: March 10, 2025                         KING & SPALDING LLP
 2
                                                   By: /s/ Aaron S. Craig
 3                                                 JOSEPH N. AKROTIRIANAKIS
                                                   AARON S. CRAIG
 4                                                 Attorneys for Defendants
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      DEFENDANTS’ LOCAL RULE 79-5(F)(3)                              Case No. 4:19-cv-07123-PJH
      STATEMENT [DKT. 557]
